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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 24-MJ-03998-VALLE

  UNITED STATES OF AMERICA,

  v.

  MALONE LAM,

           Defendant.
                                                  /

                                          DETENTION ORDER

             On September 20, 2024, this Court held a hearing pursuant to 18 U.S.C. § 3142(f) to

      determine whether Defendant Malone Lam (“Defendant”) should be detained prior to trial.1 The

      Government orally moved to detain Defendant on the grounds that he presents both a danger to

      the community and a serious risk of flight.     Having considered the factors enumerated in 18

      U.S.C. § 3142(g), the Government’s proffer, the testimony of the law enforcement agent, the facts

      contained in the Pretrial Services Report (“PSR”), and the arguments of counsel, the Court finds

      by clear and convincing evidence that Defendant poses a danger to the community. The Court

      also finds by a preponderance of the evidence that no condition or combination of conditions

      will reasonably assure Defendant’s appearance in this case if Defendant is released prior to trial.

      Therefore, the Court orders that Defendant be detained prior to trial and until the conclusion

      thereof.

             In accordance with 18 U.S.C. § 3142(i)(1), the Court makes the following findings of

      fact and statement of reasons for the detention:

             1.      Defendant is charged by Indictment in the District of Columbia with one count of


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      The audio recording of the proceeding is incorporated by reference.
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   conspiracy to commit wire fraud, in violation of 18 U.S.C. § 1349, and one count of laundering

   of monetary instruments, in violation of 18 U.S.C. § 1956(a)(1)(B)(i). If convicted, Defendant

   faces up to 20 years’ imprisonment per count and a fine of up to $250,000 or twice the pecuniary

   gain. Defendant’s estimated Sentencing Guideline range is between 168-210 months in prison.

          2.     The evidence against Defendant is substantial.       At the detention hearing, the

   Government proffered evidence and a law enforcement agent testified that:

                 a. On August 18 and 19, 2024, Defendant and his co-conspirators stole

                    approximately $230,000,000 in cryptocurrency from a victim in Washington,

                    D.C. They targeted the victim because they identified him as a high net-worth

                    investor from the early days of cryptocurrency.

                 b. Defendant and his co-conspirators called the victim and impersonated Google

                    Support team members. They told the victim that there was a hack attempt

                    and that they needed to shut down his Google account. They ultimately

                    convinced the victim to provide the security codes to his Google account.

                    Defendant then accessed the victim’s One Drive and Gmail account to locate

                    his cryptocurrency assets. Defendant further scoured the victim’s private

                    accounts looking for additional information.

                 c. Defendant located Gemini cryptocurrency exchange records in the victim’s

                    Google accounts, and the conspirators agreed that one of them would call the

                    victim back and pose as a Gemini Crypto Exchange Security team member.

                    In doing so, they convinced the victim that his cryptocurrency accounts had

                    also been compromised. Initially, they convinced the victim to transfer a small

                    portion (approximately $3,000,000) of his cryptocurrency to a crypto wallet



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                controlled by Defendant. The group then convinced the victim to download a

                remote desktop connection program for his own “security,” which allowed

                Defendant to log into the victim’s computer and steal over 4,000 bitcoin. In

                total, Defendant and his co-conspirators stole more than $230,000,000 in

                cryptocurrency and laundered it through various cryptocurrency exchanges

                and mixers.

             d. To complete the theft, Defendant and his co-conspirators were communicating

                in real-time over Discord and Telegram. The Government is in possession of

                screen recordings capturing Defendant using the “$$$” Telegram handle and

                “Anne Hathaway” Discord display name to discuss strategies to manipulate

                the victim into allowing access to his cryptocurrency holdings.

             e. The Government also possesses numerous documents and photos attributing

                the $$$ Telegram handle to Defendant. More specifically, Defendant sent

                photos of himself and his brand-new white sports car with his name painted

                on the side to his friends using the $$$ Telegram handle. Additionally, in a

                recorded post-Miranda interview, Defendant admitted to using the $$$

                Telegram handle, admitted to committing the cryptocurrency theft with his co-

                conspirators, and admitted to dividing up the stolen funds and laundering it

                through various cryptocurrency exchanges.

             f. After laundering the stolen funds, Defendant began a spending spree of the

                victim’s assets. Government surveillance captured Defendant at Los Angeles

                nightclubs spending hundreds of thousands of dollars per night and gifting

                handbags valued at tens of thousands of dollars. Management at the nightclubs



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                informed the Government that Defendant attempted to pay in cryptocurrency

                and was spending approximately $400,000-$500,000 per night. For example,

                the Government is in possession of a receipt from a Los Angeles nightclub

                where Defendant spent $569,528.39 in one night.

             g. Defendant also spent the victim’s funds purchasing a collection of luxury

                automobiles, some valued as high as $3,000,000.         In the post-Miranda

                interview, Defendant admitted to purchasing 31 luxury automobiles, 22 of

                which have yet to be located by law enforcement.

             h. On September 10, 2024, Defendant and his friends flew on a private jet from

                Los Angeles to Miami to continue the spending spree. Defendant rented

                multiple homes in Miami, including a residence on Hibiscus Island and two

                other luxurious homes near the water, one of which Defendant was paying

                $68,000 a month in rent. Defendant continued spending the victim’s funds in

                Miami nightclubs, on jewelry, and on cars.         Law enforcement arrested

                Defendant on September 18, 2024.

             i. From two of his residences in Miami, law enforcement seized nine luxury

                automobiles and luxury watches, one of which was purchased for $1.8 million.

                Law enforcement also recovered bills of sale at Defendant’s Miami residence

                for some of these automobiles.       Many of the automobiles Defendant

                purchased, however, have yet to be located, including the automobile that has

                “Malone” painted on the side.

             j. In the post-Miranda interview, Defendant admitted to doing additional hacks

                and making millions from those separate cryptocurrency fraud schemes, which



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                     he stated have supported his entire lifestyle since arriving in the United States

                     in October 2023.

                  k. Finally, on September 18, 2024, one of Defendant’s co-conspirators (Jeandiel

                     Serrano) was arrested at Los Angeles International Airport. Shortly thereafter,

                     the co-conspirator’s girlfriend informed Defendant of the arrest. Defendant

                     then immediately deleted his Telegram account, evidencing Defendant’s

                     potential to obstruct justice.

          3.      The evidence demonstrates the serious nature of this offense. Defendant, a 20-

   year-old foreign national, stole millions of dollars in cryptocurrency, laundered the stolen funds

   in sophisticated ways, and spent the proceeds of the fraud to fund a lavish lifestyle in Los

   Angeles and Miami.

          4.      Defendant’s personal characteristics also support pretrial detention. The Court

   incorporates and makes part of this Order the facts contained in the PSR.          Defendant is a

   Singaporean citizen and has no legal status in the United States. Defendant was in the United

   States via the visa waiver program, which provides tourists 90 days. While in the United States,

   Defendant had no permanent residence, was not lawfully employed, and was paying for his

   lavish lifestyle with stolen funds. Moreover, Defendant has substantial assets that have yet to

   be located, which provide him with the financial means to flee. Lastly, if convicted, Defendant

   faces a lengthy term of imprisonment, thus giving him a strong incentive to flee.

          5.      Based on the above findings of the fact, the nature of the charged offenses, and

   the overall weight of the evidence, the Court finds by a preponderance of evidence that no

   condition or combination of conditions of release will reasonably assure Defendant’s appearance

   as required.   The Court also finds by clear and convincing evidence that Defendant poses a



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   danger to the community due to his willingness to obstruct justice.

          6.      Accordingly, the Court hereby directs that:

                  a. Defendant be detained without bond;

                  b. Defendant be committed to the custody of the Attorney General for

                     confinement in a correction facility separate, to the extent practical, from

                     persons awaiting or serving sentences or being held in custody pending

                     appeal;

                 c. Defendant be afforded reasonable opportunity for private consultation with

                     his counsel; and

                 d. On Order of a Court of the United States or on request of an attorney for the

                     Government, the person in charge of the corrections facility in which

                     Defendant is confined, deliver Defendant to a United States Marshal for the

                     purpose of transporting him to Washington, D.C. for appearance in

                     connection with court proceedings in the District of Columbia.

          DONE AND ORDERED in Chambers, Miami, Florida, on September 24, 2024.



                                                      ALICIA O. VALLE
                                                      UNITED STATES MAGISTRATE JUDGE

  cc.    Pretrial Services
         U.S. Marshals Service
         All Counsel of Record




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